              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT




                           STATE OF FLORIDA,

                                 Appellant,

                                      v.

                              ZHENG DONG,

                                  Appellee.


                             No. 2D2023-0407



                              August 21, 2024

Appeal from the Circuit Court for Hillsborough County; Lyann Goudie,
Judge.

Ashley Moody, Attorney General, Tallahassee, and Alicia Winterkorn,
Assistant Attorney General, Tampa, for Appellant.

Daniel J. Fernandez, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

SILBERMAN, LaROSE, and BLACK, JJ., Concur.


Opinion subject to revision prior to official publication.
